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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


C.D. by and through her parents
and Next Friends, M.D. and P.D.et al
                   Plaintiff

              v.                                CIVIL ACTION NO. 15-cv-13617- FDS


Natick Public School District
                   Defendant


                                       JUDGMENT

   D.J. Saylor


_____         Jury Verdict. This action came before the court for a trial by jury. The
              issues have been tried and the jury has rendered its verdict.

__X___        Decision by the Court. This action came to trial or hearing before the
              Court. The issues have been tried or heard and a decision has been
              rendered.

         IT IS ORDERED AND ADJUDGED:




                                                       ROBERT M. FARRELL
                                                       CLERK OF COURT



Dated:     07/20/2018                             By   /s/ Taylor Halley
                                                       Deputy Clerk
